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                                                     U.S. Department of Justice

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                  July 30, 2021
VIA EMAIL

Lawrence Wolf Levin
Law Office of Lawrence Wolf Levin


       Re:    United States v. Lyons
              Case No. 21-cr-79-BAH
              Discovery Letter No. 5

Dear Mr. Levin:

     This is to memorialize the following preliminary discovery sent you on July 30, 2021, via
USAFX which contained the following materials:

       Transcript of J. Horan and Exhibits 2-16, including 7A and 7B, 8A and 8B, 14A and 14B
       HIGHLY SENSITIVE
       Serial 34 List sent for discovery
       Serial 35 Redacted: Tipster report
       Serial 36 and 36_1A_13_01: report and picture of cash located
       Serial 37: Report on forensics
       Serial 38_1A_19_01 through 03 and 20_01 Redacted: Photographs of Lyons with framed
photograph
       Serial 39: Report explaining acquisition of police report
       Serial 40 and 40_1A_15_01: Report on forensics
       Serial 41 and 41_1A_16_01: Report on forensics
       Serials 42-44: Reports for refiling case number, acquisition of police report, and
indictment
       Serial 44_1A_19_01, 20_01: Copy of indictment and receipt of indictment
       Serial 46 Redacted and 46_1A_21_01 Redacted and 21_02: report of interview of stolen
wallet
       Serial 47 Redacted and 47_1A_22_01 Redacted and 22_02: report of interview of stolen
framed photograph
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         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Monica A. Stump
                                                      Monica A. Stump
                                                      Assistant United States Attorney

Enclosure(s)


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